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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                      )               CASE NO. 1:99cr00332-024
                                               )
       Plaintiff,                              )               JUDGE: JAMES S. GWIN
                                               )
vs.                                            )               ORDER
                                               )
RASHEED J. SEWELL,                             )
                                               )
       Defendant.                              )



       This matter was heard on January 30, 2012, upon the request of the United States Pretrial

and Probation Office for a finding that defendant had violated the conditions of his supervised

release. The defendant was present and represented by Attorney Timothy Ivey.

       The initial violation report was referred to United States Magistrate Judge Nancy A.

Vecchiarelli to conduct appropriate proceedings and for the issuance of a Report and

Recommendation which was issued January 13, 2012. (Related Docs. 893 and 897). No

objections to the Report and Recommendation were filed by either plaintiff or defendant.

       The Court adopts the Report and Recommendation of the Magistrate Judge and finds that

defendant violated the conditions of supervision as follows:

               1) illicit drug use on August 17, 2011 and November 8, 2011

               to which the defendant admitted and on September 19, 2011,

               September 30, 2011, December 2, 2011 and December 9, 2011 -

               the latter four dates all certified positive for cocaine;
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               2) failure to attend drug aftercare;

               3) new law violation on or about October 12, 2011, to which

               defendant entered a plea of guilty on November 1, 2011 (Attempted

               Domestic Violence Assault).

       The Court, having considered all factors in Sec. 3553, committed defendant to the Bureau

of Prisons for a term of 8 months with credit for time served in federal custody on the instant

violations. Upon release from incarceration defendant shall serve an additional 1 year of

supervised release with the special conditions previously imposed.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: January 30, 2012                               s/ James S. Gwin
                                                      JAMES S. GWIN
                                                      UNITED STATES DISTRICT JUDGE
